                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


MICHAEL D. COHEN,                                      Civil Action No.: 1:21-cv-10774-LJL

                     Plaintiff,

       v.

UNITED STATES OF AMERICA, DONALD J.
TRUMP, former President of the United States,
WILLIAM BARR, former Attorney General of the
United States, MICHAEL CARVAJAL, Director of
the Bureau of Prisons, JON GUSTIN, Administrator
of the Residential Reentry Management Branch of the
Bureau of Prisons, PATRICK McFARLAND,
Residential Reentry Manager of the Federal Bureau of
Prisons, JAMES PETRUCCI, Warden of FCI
Otisville, ENID FEBUS, Supervisory Probation
Officer of the United States Probation and Pretrial
Services, ADAM PAKULA, Probation Officer of the
United States Probation and Pretrial Services, and
JOHN and JANE DOE (1-10) agents, servants, and
employees of the United States,

                     Defendants.


MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
                 PURSUANT TO FRCP RULE 12


                                                Alina Habba, Esq.
                                                HABBA MADAIO & ASSOCIATES LLP
                                                1430 U.S. Highway 206, Suite 240
                                                Bedminster, New Jersey 07921
                                                       -and-
                                                112 West 34th St, 17th & 18th Floors
                                                New York, New York 10120
                                                Telephone: (908) 869-1188
                                                Facsimile: (908) 450-1881
                                                E-mail: ahabba@habbalaw.com
                                                Attorneys for Defendant, Donald J. Trump,
                                                former President of the United States
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         Defendant, Donald J. Trump (“Defendant”), by and through his undersigned attorneys,

Habba Madaio & Associates LLP, respectfully submits this memorandum of law in support of his

motion to dismiss (the “Motion”) the Complaint filed by the plaintiff, Michael D. Cohen

(“plaintiff”), pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure

(“FRCP”). For the reasons set forth herein, Defendant’s motion must be granted in its entirety.

                                            ARGUMENT

    I.      Plaintiff’s Claims are Precluded by the Doctrine of Presidential Immunity

         As a threshold matter, Defendant is not a proper party to this action since his alleged

conduct falls squarely within his official duties as President. As such, these official acts are

shielded by presidential immunity and Defendant cannot be subject to civil liability for the conduct

at issue.

         It is blackletter law that a president is entitled to absolute immunity for acts taken within

the scope of his official duties. See generally Nixon v. Fitzgerald, 457 U.S. 731 (1982). This

precedent was established in the seminal case of Nixon, wherein the Supreme Court held that this

wide-spanning, unqualified immunity is “a functionally mandated incident of the President’s

unique office, rooted in the constitutional tradition of the separation of powers and supported by

our history.” Id. at 749.     The Supreme Court emphasized the indispensable nature of this

protection, noting that, without it, a President’s ability to effectively serve his country would be

severely hindered. In particular, the Supreme Court reasoned:

         Because of the singular importance of the President's duties, diversion of his
         energies by concern with private lawsuits would raise unique risks to the effective
         functioning of government. As is the case with prosecutors and judges—for whom
         absolute immunity now is established—a President must concern himself with
         matters likely to “arouse the most intense feelings.” Pierson v. Ray, 386 U.S., at
         554, 87 S.Ct., at 1218. Yet, as our decisions have recognized, it is in precisely such
         cases that there exists the greatest public interest in providing an official “the
         maximum ability to deal fearlessly and impartially with” the duties of his



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       office. Ferri v. Ackerman, 444 U.S. 193, 203, 100 S.Ct. 402, 408, 62 L.Ed.2d 355
       (1979). This concern is compelling where the officeholder must make the most
       sensitive and far-reaching decisions entrusted to any official under our
       constitutional system. Nor can the sheer prominence of the President’s office be
       ignored. In view of the visibility of his office and the effect of his actions on
       countless people, the President would be an easily identifiable target for suits for
       civil damages. Cognizance of this personal vulnerability frequently could distract a
       President from his public duties, to the detriment of not only the President and his
       office but also the Nation that the Presidency was designed to serve.

Id. at 752-753. see also Pierson v. Ray, 386 U.S. 547, 554 (1967) (explaining that immunity serves

the public interest in preserving the independence and decisiveness necessary of government

officials); Trump v. Vance, 140 S. Ct. 2412, 2425 (noting that the President’s duties “are of

unrivaled gravity and breadth.”).

       In Nixon, a government whistleblower attempted to sue President Nixon for wrongful

termination, claiming that Nixon had unlawfully fired him in retaliation for damaging testimony

that he had given before an oversight committee. The Supreme Court flatly rejected the contention

that President Nixon could be subject to civil liability for his decision to terminate the

whistleblower, and held, in a sweeping decision, that “a former President of the United States is

entitled to absolute immunity from damages liability predicated on his official acts.” Id. at 749.

Further, given the “special nature of the President’s constitutional office and functions,” the

Supreme Court found it appropriate to extend the absolute immunity of a President beyond the

mere ‘functional’ immunity afforded to other federal officials such as judges, prosecutors, etc. and

held that a President is entitled to absolute immunity for any and all “acts within the ‘outer

perimeter’ of his official responsibility.” Id. at 755; see also Clinton v. Jones, 520 U.S. 681, 694

(1997) (“Because of the President’s broad responsibilities, we recognized in [Nixon] an immunity

from damages claims arising out of the official acts extending to the ‘outer perimeter’ of his

authority.”) (citing Nixon, 457 U.S. at 757)




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        In the present scenario, it cannot be reasonably disputed that Defendant is entitled to

absolute immunity in connection with the conduct alleged in the Complaint. Therefore, for the

reasons set forth herein, the Complaint must be dismissed in its entirety.

             A. Presidents are Entitled to Absolute Immunity Against Bivens Claims

        At the outset, it is plainly evident that Defendant is entitled to absolute immunity based

upon the manner in which the Complaint is plead. In particular, of the seven causes of actions

asserted by Plaintiff in the Complaint, the only one that pertains to Defendant is the Seventh Cause

of Action, which alleges various violations of Plaintiff’s First, Fourth, and Eighth Amendment

rights and is plead against “all Individual Defendants.” Compl. ¶¶ 139-142. Notably, the Seventh

Cause of Action is explicitly fashioned as a Bivens claim. Id.

        In Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, the Supreme

Court authorized an implied cause of action for constitutional violations arising from a federal

official. See generally Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403

U.S. 388 (1971). To maintain a Bivens claim against a federal official, a plaintiff must show that

the official was “acting under color of his authority.” Id. at 389; Butz v. Economou, 438 U.S. 478,

501 (1978) (“It mandated that any person who, under color of state [or federal] law, subjected

another to the deprivation of his constitutional right would be liable to the injured party in an action

at law.”).

        Since a president is entitled to absolute immunity for “acts within the ‘outer perimeter’ of

his official capacity,” it follows that a Bivens claim—which must arise from an act performed

“under color of his authority”—cannot be maintained against a President. Nixon, 457 U.S. at 755.

Stated differently, by bringing a Bivens claim, a plaintiff must necessarily admit that a defendant

was acting within the scope of his official responsibilities, which, as it relates to a President, will




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as a matter of course trigger the doctrine of absolute immunity and foreclose the Plaintiff’s ability

to bring the claim. See e.g., Galella v. Onassis, 487 F.2d 986, 993 (2d Cir. 1973) (“If an officer is

acting within his role as a government officer his conduct is at least within the outer perimeter of

his authority.”).

        Indeed, the Supreme Court has expressly held that a Bivens claim cannot be maintained

against a current or former president for acts taken while in office. Nixon, 457 U.S. at 749 (“[A]

former President of the United States[] is entitled to absolute immunity from damages liability

predicated on his official acts.”); see also Id. at 770 (White, J., dissenting) (“[I]t is difficult to read

the [majority’s] opinion coherently as standing for any narrower proposition: Attempts to subject

the President to liability . . . through a Bivens proceeding would violate the separation of powers.”).

Numerous other courts have echoed this sentiment. See Allen v Biden, CV-21-01150-PHX-JAT,

2021 WL 3472740, at *1 (D. Ariz., Aug. 6, 2021) (“The Supreme Court has also held that the

President of United States is entitled to absolute immunity from Bivens actions) (citing Nixon, 457

U.S. at 758); Brown v Obama, 10-CIV-6426-LBS, 2011 WL 2207569, at *2 (S.D.N.Y., May 31,

2011) (“Were Plaintiff to bring this [Bivens] action . . . against the President in his individual

capacity, it would likewise be dismissed, as the President ‘is entitled to absolute immunity from

damages liability predicated on his official acts.’”) (citing Nixon, 457 U.S. at 749); Jackson v

Bush, 448 F.Supp 2d 198, 201-02 (D.D.C. 2006) (“Since plaintiff brings this suit against President

Bush for actions he allegedly took ‘within the scope of his lawful authority,’ the President has

absolute immunity from this lawsuit in his individual capacity.”) (citing Nixon 457 U.S. at 756);

see also Butz, supra (explaining that Bivens is “drained of meaning” when absolute immunity is

applied and requiring specific federal officials to show that “public policy requires an exemption

of that scope” – as has already been held to apply to the position of President in Nixon.).




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       Plaintiff acknowledges that Defendant “was President of the United States” at all relevant

times referenced in the Complaint. Compl. ¶ 37. Consequently, well-established law dictates that

Defendant is entitled to absolute immunity from Plaintiff’s Bivens claim. Therefore, the Seventh

Cause of Action—and the Complaint as a whole—must be dismissed against Defendant.

             B. Plaintiff Explicitly Alleges that Defendant Was Acting Within the Scope of His
                Official Duties

       Even if Plaintiff’s claim against Defendant were not precluded as a matter of law,

examination of the allegations contained in the Complaint confirm beyond any shadow of a doubt

that absolute immunity must be applied here.

       As established in Nixon, in determining whether a President should be afforded absolute

immunity, the relevant inquiry is whether the liability in a civil lawsuit is “predicated on [the

President’s] official acts.” Nixon, 457 U.S. at 749. A President’s “sphere of protected action” is

interpreted broadly and extends to conduct within the “outer perimeter of his official

responsibilities.” Id. at 756; see also Chastain v. Sundquist, 833 F.2d 311, 315 (D.C. Cir. 1987)

(holding that presidential immunity “is absolute . . . subject only to the requirement that [his]

actions fall within the outer perimeter of [his] official duties”); Clinton, 520 U.S. at 696 (“With

respect to acts taken in his ‘public character’—that is, official acts—the President may be

disciplined principally by impeachment, not by private lawsuits for damages.”).

       Here, there is no question that the conduct at issue falls squarely within Defendant’s official

presidential duties. Plaintiff does not dispute this; in fact, he plainly admits as much in the

Complaint.     Specifically, Plaintiff pleads that “at all relevant times herein, the individual

defendants acted within the course and scope of their employment and under the color of

law.” Id. ¶ 47 (emphasis added). He also pleads that “[t]he conduct of all defendants was

accomplished under color of law.” Id. ¶ 142 (emphasis added). In other words, Plaintiff



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implicitly acknowledges in the Complaint that his claims are “predicated on [Defendant’s] official

acts” as President. Nixon, 457 U.S. at 749.

        Accordingly, by Defendant’s own admission, absolute immunity must be applied on this

basis alone.

            C. The Complaint is Directed Against Defendant in His Official Capacity as
               President

        In addition to Plaintiff’s outright admission that Defendant “at all relevant times . . . acted

within the scope of his employment and under the color of law,” Id. ¶ 47, further review of the

Complaint confirms that Plaintiff’s claims are directed against Defendant in his official role as

President. For instance, Defendant is identified in the caption of the Complaint as “DONALD J.

TRUMP, former President of the United States.” Compl. at 1 (emphasis added). Likewise, in the

“Parties” section, Plaintiff states that “[a]t all relevant times herein, defendant Donald J. Trump

was President of the United States . . . was head of the Executive Branch of the Federal

Government . . . [and] was responsible for the oversight and enforcement of the laws of the United

States.” Id. ¶ 37.

        Moreover, Plaintiff’s theory of liability against Defendant is solely premised upon his

assertion that Defendant “issued specific directives and guidance to his co-defendants” concerning

the handling of Plaintiff’s incarceration and potential furlough. Id. ¶ 37. The “co-defendants”

referred to by Plaintiff are all current and/or former federal employees of the Department of Justice

(DOJ) and the Federal Bureau of Prisons (FBOP), both organized under the Executive Branch.

See 28 U.S.C. § 501 (“The Department of Justice is an executive department of the United States

at the seat of Government.”); See generally 18 U.S.C. § 4041 et seq. (setting forth the organization

and structure of the BOP). Defendant’s authority to manage, direct or otherwise exert control over

the DOJ and/or the BOP is derived exclusively from his role as President. See U.S. Const. Art. II,



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§ 1 (“The executive Power shall be vested in a President of the United States of America.”); Nixon,

457 U.S. 731 at 750 (noting that Art. II, § 1 “establishes the President as the chief constitutional

officer of the Executive Branch, entrusted with supervisory and policy responsibilities of utmost

discretion and sensitivity.”). Thus, any “specific directives” issued by Defendant to his co-

defendants would have been well within his official responsibilities as chief of the Executive

Branch. This authority also arises from a President’s overarching duty to “preserve, protect, and

defend the Constitution,” U.S. Const. Art. II, § 1, and to take “[c]are that the Laws be faithfully

executed[.]” U.S. Const. Art. II, § 3; see also Myers v. United States, 272 U.S. 52, 122 (1926)

(describing the take care clause as “sweeping words” which are to be broadly interpreted.).

        To the extent Plaintiff may contend that the Complaint alleges that the Defendant’s conduct

were motivated by malicious intent, thereby exceeding his official authority, this argument fails

since it is well established that presidential immunity is “not overcome by ‘allegations of bad faith

or malice.’” Klayman v. Obama, 125 F.Supp.3d 67, 86 (D.D.C. 2015) (quoting Barret v.

Harrington, 130 F.3d 246, 254-55 (6th Cir. 1997)). For the purposes of determining whether

absolute immunity applies, a court’s inquiry must focus on the objective nature of the conduct in

question (i.e., whether the act itself is within the scope of a president’s official duties); inquiry into

the subjective motive or intent underlying the alleged conduct is prohibited. See Nixon, 457 U.S.

at 756 (“[A]n inquiry into the President’s motives could not be avoided under the kind of

‘functional’ theory asserted both by respondent and the dissent. Inquiries of this kind could be

highly intrusive.”). Thus, while Defendant wholly and adamantly denies the veracity of Plaintiff’s

claims—including his assertion that Defendant acted in bad faith in any manner whatsoever—this

issue is simply not properly before the Court.




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         In sum, considering the nature of Plaintiff’s sole claim against Defendant—a Bivens claim

seeking damages for official conduct—coupled with the substance of the allegations contained in

the Complaint—including Plaintiff’s admission that Defendant was acting “within the course and

scope of [his] employment and under the color of law”—it is indisputable that the Seventh Cause

of Action is “predicated on [Defendant’s] official acts” as President. Nixon, 457 U.S. at 749. As

such, Defendant is entitled to absolute immunity and the Complaint must be wholly dismissed

against him. See Imbler v. Pachtman, 424 U.S. 409, 419 n.13 (1976) (“[A]bsolute immunity

defeats a suit at the outset, so long as the official’s actions were within the scope of the immunity.).

   II.      If Absolute Immunity Does Not Apply Then Plaintiff’s Claims are Non-Actionable

         Assuming arguendo that Defendant is not entitled to absolute immunity, this Court would

inevitably be required to find that Defendant was not acting in his “official capacity.” Nixon, 457

U.S. at 759. In such a scenario, Defendant could not possibly be found liable under the Bivens

doctrine.

         It is well established that “[g]overnment officials may not be held liable for the

unconstitutional conduct of their subordinates under a theory of respondeat superior. Ashcroft v.

Iqbal, 556 U.S. 662, 676 (2009) (citing Monell v. New York City Dept. of Social Servs., 436 U.S.

658, 691 (1978) (finding no vicarious liability for a municipal “person” under 42 U.S.C. § 1983);

Robertson v. Sichel, 127 U.S. 507, 515–516 (1888) (“A public officer or agent is not responsible

for the misfeasances or positive wrongs, or for the nonfeasances, or negligences, or omissions of

duty, of the subagents or servants or other persons properly employed by or under him, in the

discharge of his official duties”) (additional citations omitted). “Because vicarious liability is

inapplicable to Bivens . . . a plaintiff must plead that each Government-official defendant, through




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the official’s own individual actions, has violated the Constitution.” Ashcroft v. Iqbal, 556 U.S.

662, 676 (2009).

        Here, assuming that Defendant was not acting in his official capacity, the absence of

vicarious liability is fatal to Plaintiff’s claim. In the Complaint, the only allegation Plaintiff levies

against Defendant is that he “issued specific directives and guidance to his co-defendants that

governed the treatment of [P]laintiff” and that “at [Defendant’s] direction, [P]laintiff was

remanded back to prison and subject to great indignities when he was unlawfully incarcerated and

held in solitary confinement.” Compl. ¶ 36. Since Defendant cannot be held vicariously liable for

the actions of the co-defendants, it follows that Defendant—“title notwithstanding”—can only be

“held liable for his own misconduct.” Id. at 677 (emphasis added). But outside of his “official

capacity,” Defendant lacks the requisite authority to “issue specific directives [or] guidance” to

the co-Defendants. As a result, Plaintiff has failed to allege any specific wrongdoing on the part

of Defendant.

        Moreover, assuming Defendant’s actions were carried out in an unofficial capacity, his

actions would be strictly private in nature and thereby fall outside the purview of conduct

actionable under Bivens. See Screws v. United States, 325 U.S. 91, 111 (1945) (noting that “acts

of officers in the ambit of their personal pursuits” do not qualify as acts committed “under the

color of law.”); Jackson v. Metropolitan Edison Co., 419 U.S. 345, 349 (1974) (finding that purely

private conduct causing constitutional deprivations is non-actionable under 42 U.S.C. § 1983); see

also Butz, 438 U.S. at 478 (holding that scope of liability for federal officials under Bivens actions

is coextensive with liability of state officials under § 1983).

        Therefore, even if absolute immunity is not applicable here, the Complaint fails all the

same.




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   III.      Bivens Should Not be Extended to a New Context

          Plaintiff’s attempt to assert a Bivens claim against Defendant, the former President of the

United States, is misguided and wholly inconsistent with the Supreme Court’s reluctance to extend

the Bivens doctrine beyond its narrow application in very limited circumstances.

          The reasoning behind the Supreme Court’s ruling in Bivens—which established a private

right of action for the violation of an individual’s constitutional rights by a federal official acting

under the color of federal authority—was “to deter individual federal officers from committing

constitutional violations.’ ” Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 70 (2001). Since its

holding in Bivens, the Supreme Court has consistently cautioned that Bivens provides an

extraordinary remedy that should rarely if ever be applied in “new contexts.” Id. at 69; see

also Wilkie v. Robbins, 551 U.S. 537, 550, (2007) (“[I]n most instances we have found

a Bivens remedy unjustified.”); Malesko, 534 U.S. at 68, 122 S.Ct. 515 (“[W]e have consistently

refused to extend Bivens liability to any new context or new category of defendants.”).

          In fact, in the more than 50 years since Bivens, the Supreme Court has “extended it twice

only: in the context of an employment discrimination claim in violation of the Due Process

Clause, Davis v. Passman, 442 U.S. 228, 99 S.Ct. 2264, 60 L.Ed.2d 846 (1979); and in the context

of an Eighth Amendment violation by prison officials, Carlson v. Green, 446 U.S. 14, 100 S.Ct.

1468, 64 L.Ed.2d 15.” Arar v. Ashcroft, 585 F.3d 559, 571(2d Cir. 2009). Aside from these narrow

contexts, the Supreme Court has “otherwise consistently declined to broaden Bivens to permit new

claims.” Doe v. Hagenbeck, 870 F.3d 36, 43 (2d Cir. 2017)’ see also Wilkie, 551 U.S. 537, 550

(2007) (“[I]n most instances we have found a Bivens remedy unjustified.”); Malesko, 534 U.S. at

68, 122 S.Ct. 515 (“[W]e have consistently refused to extend Bivens liability to any new context

or new category of defendants.”).




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       Recently, the Supreme Court reiterated that courts should not imply rights and remedies as

a matter of course, “no matter how desirable that might be as a policy matter, or how compatible

with the statute [or constitutional provision].” Ziglar v. Abbasi, 137 S. Ct. 1843, 1856 (2017).

“Given the notable change in the Court's approach to recognizing implied causes of action, ... the

Court has made clear that expanding the Bivens remedy is now a ‘disfavored’ judicial activity.” Id.

at 1857 (quoting Ashcroft v. Iqbal, 556 U.S. 662 (2009)).

       Given the Supreme Court’s hesitation to extend the doctrine, before delving into the

substantive analysis on a Bivens claim “the first question a court must ask [is] whether the claim

arises in a new Bivens context.” Abbasi, 137 S. Ct. at 1864; accord id. at 1860. A case presents a

new context when it differs “in a meaningful way” from the three “previous Bivens cases” in which

the Supreme Court created a damages remedy (Bivens, Davis, and Carlson). Id. at 1859.

       The instant action puts forth a novel factual scenario which has never been previously

before any court, certainly not in context of the Bivens doctrine. Consistent with the Supreme

Court’s holding in Nixon, a Bivens claim has never been permitted to proceed against a former

President for acts taken while in office. Further, while the Supreme Court has confirmed that a

Bivens claim may be raised in the context of a Fourth Amendment claim, see Bivens, supra, and

an Eighth Amendment claim, see Carlson, supra, the doctrine has never been extended to apply

to claims arising under the First Amendment. Here, Plaintiff seeks to jointly raise a Bivens claims

arising under all three of these Amendments—First, Fourth, and Eighth—a scenario which has

never been dealt with previously. As a result, given the incredibly narrow application of Bivens

and the unique circumstances in this case, there is no question that the instant matter arises in a

new Bivens context.




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       Once it has been established that a Bivens claim involves a new or unique context, the claim

will “be defeated” if a defendant is able to demonstrate that one of two situations apply: (i) there

are “special factors counselling hesitation in the absence of affirmative action by Congress”; or

(ii) Congress has “provided an alternative remedy which it explicitly declared to be a substitute for

recovery directly under the Constitution and viewed as equally effective.” Reuber v. United States,

750 F.2d 1039, 1056 (D.C. Cir. 1984). Since both circumstances are present in this matter,

Plaintiff’s Bivens claim is excluded as a matter of law.

       A. There are Special Factors Counselling Hesitation Against Implying a Bivens
          Remedy

        “A Bivens remedy will not be available if there are ‘special factors counselling hesitation

in the absence of affirmative action by Congress.’ ” Abbasi, 137 S. Ct. at 1857 (quoting Carlson,

446 U.S. 14 (1980); see also Arar, 585 F.3d at 573 (“When the Bivens cause of action was created

in 1971, the Supreme Court explained that such a remedy could be afforded because that “case

involve[d] no special factors counselling hesitation in the absence of affirmative action by

Congress’”) (citing Bivens, 403 U.S. at 396).

       In determining whether special factors counselling hesitation are present, a court’s inquiry

“must concentrate on whether the Judiciary is well suited, absent congressional action or

instruction, to consider and weigh the costs and benefits of allowing a damages action to proceed.”

Abbasi, 137 S.Ct. at 1857-58. If it is not, a ‘special factor’ is present and dismissal of the complaint

is warranted. Id. In this context, a court’s threshold for declining to imply a Bivens remedy is

“remarkably low.” Arar, F.3d at 574.

       Among the “special factors” that have “counsel[ed] hesitation” and thereby foreclosed

a Bivens remedy are: military concerns, United States v. Stanley, 483 U.S. 669 (1987); separation

of powers, United States v. City of Philadelphia, 644 F.2d 187, 200 (3d Cir.1980); the



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comprehensiveness of available statutory schemes, Dotson v. Griesa, 398 F.3d 156 (2d Cir. 2005);

national security concerns, Beattie v. Boeing Co., 43 F.3d 559, 563 (10th Cir.1994); and foreign

policy considerations, United States v. Verdugo–Urquidez, 494 U.S. 259, 274 (1990); see also

Arar v. Ashcroft, 585 F.3d 559, 573 (2d Cir. 2009).

        Here, there are numerous factors which counsel hesitation in allowing Plaintiff’s Bivens

claim to proceed in this new and novel context against Defendant. The most notable is the

separation of powers – since the Bivens claim relates to actions undertaken by Defendant while he

was serving in the role of President, there is a serious “risk of disruptive intrusion by the Judiciary

into the functioning of other branches.” Abbasi, 137 S. Ct. at 1860. Indeed, the Abbasi court

emphasized that the “central” special-factor inquiry derives from “separation-of-powers

principles.” Id. at 1857. Permitting a Bivens claim against the President would run headlong into

this concern. See United States v. Curtiss–Wright Exp. Corp., 299 U.S. 304 (1936) (noting the

“plenary and exclusive power of the President as the sole organ of the federal government” and

discussing the difficulties presented by congressional—let alone judicial—involvement in such

affairs.).

        In Nixon, the Supreme Court was similarly concerned with the issue of separation of

powers – its finding that presidential immunity was “a functionally mandated incident of the

President’s unique office” was “rooted in the constitutional tradition of the separation of powers.”

Nixon, 457 U.S. at 749. The Supreme Court also highlighted the President’s “management of the

Executive Branch” as one of the reasons why absolute immunity is warranted, stating that it is “a

task for which ‘imperative reasons require[e] an unrestricted power [in the President] to remove

the most important of his subordinates in their most important duties.” Id. at 750.




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       Expanding the Bivens doctrine in this case by permitting a claim to proceed against

Defendant, the former President of the United States, would implicate numerous separation-of-

powers concerns and would fly directly in the face of the Supreme Court’s holdings in both Abbasi

and Nixon.    As such, this “special factor counselling hesitation” warrants dismissal of the

Complaint. Abbasi, 137 S. Ct. at 1857

       B. There is an Alternative Congressional Remedy for the Recovery Sought.

       As clarified by Abbasi, this “inquiry must concentrate on whether the Judiciary is well

suited, absent congressional action or instruction, to consider and weigh the costs and benefits of

allowing a damages action to proceed.” Id. at 1857-58. A court should not extend the Bivens

remedy if “there are sound reasons to think Congress might doubt the efficacy or necessity of a

damages remedy as part of the system for enforcing the law and correcting a wrong.” Id. at 1858.

Relatedly, “if there is an alternative remedial structure present in a certain case, that alone may

limit the power of the Judiciary to infer a new Bivens cause of action.” Id.

       Extension of Bivens to this case would be inappropriate because Plaintiff had available to

him alternative methods of seeking relief. “[W]hen alternative methods of relief are available, a

Bivens remedy usually is not.” Abbasi, 137 S. Ct. at 1863. The presence of “alternative, existing

process[es]” for challenging allegedly unconstitutional action may “alone” foreclose the extension

of Bivens to a new context. Id. at 1858 (quoting Wilkie v. Robbins, 551 U.S. 537, 550 (2007)).

Such alternatives “can take many forms, including administrative, statutory, equitable, and state

law remedies.” Vega v. United States, 881 F.3d 1146, 1154 (9th Cir. 2018).

       Here, there exists an alternative remedy that functions as an appropriate substitute for the

relief sought by Plaintiff. Namely, the BOP’s Administrative Remedy Program—created by

Congress—provides an alternative remedial structure for Plaintiff “to seek formal review of an




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issue relating to any aspect of [his] own confinement.” 28 C.F.R. § 542.10(a); see also Abbasi, 137

S. Ct. at 1858. Numerous courts have already found that the Administrative Remedy Program is

an alternative remedial structure precludes the assertion of a Bivens remedy. See, e.g., Rodriguez

v. Easter, No. 20 Civ. 1872, 2022 WL 356478, at *6-7 (D. Conn. Feb. 7, 2022); Sabir v. Williams,

No. 20 Civ. 0008, 2020 WL 3489522, at *4 (D. Conn. June 26, 2020); Widi v. Hudson, No. 16

Civ. 1042, 2019 WL 3491250, at *4 (N.D.N.Y. Aug. 1, 2019) (same); Cannenier v. Skipper-Scott,

No. 18 Civ. 2383, 2019 WL 764795, at *5 (S.D.N.Y. Feb. 20, 2019). While damages are not

recoverable through the Administrative Remedy Program, an alternative process need only provide

a “means to be heard” and “some procedure to defend and make good on [the inmate’s] position”

to counsel hesitation; it need not provide complete relief. See Wilkie, 551 U.S. at 552.

         Likewise, numerous courts have also found that the writ of habeus corpus serves as a

sufficient alternative remedial structure that bars the inclusion of a Bivens claim. See, e.g.,

Rodriguez, 2022 WL 356478); Wiley v. Fernandez, No. 19 Civ. 652, 2021 WL 6550821 (N.D.N.Y.

Nov. 24, 2021); Sabir, 2020 WL 3489522; Silva v. Canarozzi, No. 18 Civ. 1771, 2019 WL

1596346, at *3 (D. Conn. Apr. 15, 2019); Widi, 2019 WL 3491250; Cannenier, 2019 WL 764795.

         Based on the foregoing—and given the incredibly narrow application of Bivens—there is

no question that Plaintiff’s Bivens claim against Defendant is not an appropriate extension of the

doctrine and, therefore, subject to dismissal.

   IV.      The Complaint Fails to State a Cognizable Claim Against Defendant

         All other defenses aside, the Complaint fails on a fundamental level since it is markedly

deficient as a matter of law, factually implausible, and otherwise fails to set forth a cognizable

claim against Defendant.




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        Under FRCP 8(a)(2), a pleading must contain a “short a plain statement of the claim

showing the pleading is entitled to relief.” FRCP 8(a)(2). The pleading standard of FRCP 8(a)(2)

requires “more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Bell

Atlantic Corp. v. Twombly., 550 U.S. 544, 555 (2007). A pleading that offers “labels and

conclusions” or a “formulaic recitation of the elements of a cause of action will not do.” Id. Nor

will a complaint that provides mere “naked assertion[s]” devoid of “further factual enhancement.”

Id. at 557.

        To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

as true, to “state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged. Id., at 556. The

plausibility standard is not akin to a “probability requirement,” but it asks for more than a sheer

possibility that a defendant has acted unlawfully. Ibid. Where a complaint pleads facts that are

“merely consistent with” a defendant’s liability, it “stops short of the line between possibility and

plausibility of ‘entitlement to relief.’ ” Id., at 557.

        Turning to the instant matter, the Complaint fails to identify a single act by Defendant that

could reasonably be construed as a violation of his constitutional rights. The entirety of Plaintiff’s

claim against Defendant is contained in his assertion that Defendant “issued specific directives and

guidance to his co-defendants that governed the treatment of [P]laintiff” and that “at [Defendant’s]

direction, [P]laintiff was remanded back to prison and subject to great indignities when he was

unlawfully incarcerated and held in solitary confinement.” Compl. ¶ 36. Yet, Plaintiff fails to

provide any facts to support this vague and conclusory claim. Critically, Defendant is not

mentioned once in the recitation of facts when it comes to the alleged deprivation of constitutional




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rights – only the actions of the co-Defendants are described. Nor does Plaintiff offer a single fact

in support of his belief that Defendant directed or guided the actions of the co-Defendants.

Notably, Plaintiff fails to even articulate the “specific directives” that Defendant purportedly gave

to the co-Defendants – he merely broadly asserts that he ordered that Plaintiff be “remanded back

to prison,” which, in and of itself, is well withing the statutory authority of 18 U.S.C. § 3621(b).

See 18 U.S.C. § 3621(b) (conferring sole authority and discretion in the BOP to “designate the

place of [a] prisoner’s imprisonment,” a determination which is “not reviewable by any court.”);

see also McKune v. Lile, 536 U.S. 24, 39 (“It is well settled that the decision where to house

inmates is at the core of prison administrators’ expertise.”). Therefore, even viewed in a light most

favorable to Plaintiff, there is simply no factual basis to support his claim that Defendant violated

his constitutional rights.

        Seemingly aware of the Complaint’s prima facie shortcomings, Plaintiff extraneously

describes a supposed “long line of retaliatory measures” in Defendant’s past. Compl. ¶ 104. Yet,

in doing so, Plaintiff mistakenly points to actions undertaken by other individuals and incorrectly

attributes them to Defendant. First, Plaintiff points to a lawsuit that sought an injunction to prevent

the publication of Mary Trump’s book, Too Much and Never Enough. Contrary to Plaintiff’s

contention, this lawsuit was filed by Defendant’s brother, Robert Trump, not Defendant. See

generally Declaration of Alina Habba, Esq., Exhibit A. Second, Plaintiff points to a cease-and-

desist letter which was sent to Plaintiff warning that the publication of his book would violate a

nondisclosure agreement he had signed; again, contrary to Plaintiff’s belief, this letter was sent by

attorney Charles Harder on behalf of the Trump Organization, not Defendant. See generally Habba

Decl., Ex, B. Since Defendant was not responsible for the filing of either the injunctive action or

the submission of the cease-and-desist letter, neither event has any bearing on this case. More




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importantly, these supposed “retaliatory measures”—petitioning a court for injunctive relief and

sending a ‘cease and desist’ letter in response to a threatened violation of an non-disclosure

agreement—are a valid and legitimate exercise of one’s legal rights which are in no way indicative

of a ‘retaliatory’ pattern of behavior. These actions are certainly a far cry from the bad faith

conduct alleged in the Complaint.

       Plaintiff also attempts to point to July 23, 2020 Order (the “Order”) issued by the Hon.

Alvin K. Hellerstein in the matter of Cohen v. Barr as proof that his constitutional rights were

infringed upon. See Compl., Ex. A. Yet, Defendant was not a party to the Cohen v. Barr matter

and the Order does not identify, refer to, or relate to Defendant, nor does it adjudicate his rights

in any way. Therefore, as it relates to Defendant, the Order is wholly irrelevant.

       Further, although not plead in such a manner, the vague and conclusory allegations

contained in the Complaint fail to adequately allege that Defendant entered into an agreement or

had a meeting of the minds with the other co-Defendants to sufficiently maintain a conspiracy

claim under Bivens. See Ashcroft, 585 F.3d at 569 (“Broad allegations of conspiracy are

insufficient; the plaintiff “must provide some factual basis supporting a meeting of the minds, such

that defendants entered into an agreement, express or tacit, to achieve the unlawful end.”

(citing Webb v. Goord, 340 F.3d 105, 110 (2d Cir.2003)); Ostrer v. Aronwald, 567 F.2d 551, 553

(2d Cir. 1977) (“Diffuse and expansive allegations ... will not suffice to sustain a claim of

governmental conspiracy to deprive appellants of their constitutional rights.”); Sommer v. Dixon,

709 F.2d 173, 175 (2d Cir. 1983) (“A complaint containing only conclusory, vague, or general

allegations of conspiracy to deprive a person of constitutional rights” will not survive

dismissal.”) Sommer v. Dixon, 709 F.2d 173, 175 (2d Cir. 1983); Warren v. Fischl, 33 F. Supp. 2d

171, 177 (E.D.N.Y. 1999) (“A plaintiff must make an effort to provide some details of time and




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place and the alleged effects of the conspiracy ... [including] facts to demonstrate that the

defendants entered into an agreement, express or tacit, to achieve the unlawful end.”).

       Finally, the Seventh Cause of Action is so overbroad and ambiguous that it fails to even

differentiate between any of the Defendants and merely groups them all together without

distinguishing any specific acts committed by individual defendants. See Arar, 585 F.3d 559

(finding that plaintiff failed to state a cognizable Bivens claim when the complaint grouped

together “undifferentiated” defendants and “fail[ed] to specify any culpable action taken by any

single defendant.”).

       Based on the foregoing, the Complaint is facially defective as against Defendant and,

therefore, must be dismissed as a matter of law.

                                        CONCLUSION

       For the foregoing reasons, Defendant, Donald J. Trump, respectfully requests this Court

grant his motion to dismiss the Complaint pursuant to FRCP 12(b)(1) and 12(b)(6).


Dated: April 4, 2022                         Respectfully submitted,
       New York, New York

                                             _____________________________
                                             Alina Habba, Esq.
                                             HABBA MADAIO & ASSOCIATES LLP
                                             1430 U.S. Highway 206, Suite 240
                                             Bedminster, New Jersey 07921
                                                    -and-
                                             112 West 34th St, 17th & 18th Floors
                                             New York, New York 10120
                                             Telephone: (908) 869-1188
                                             Facsimile: (908) 450-1881
                                             E-mail: ahabba@habbalaw.com
                                             Attorneys for Defendant, Donald J. Trump,
                                             former President of the United States




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